Filed 8/22/24 P. v. Cordova CA2/6
     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                         DIVISION SIX


THE PEOPLE,                                                  2d Crim. No. B332883
                                                          (Super. Ct. No. 2023009826)
     Plaintiff and Respondent,                                 (Ventura County)

v.

IVAN CORDOVA,

     Defendant and Appellant.


       Ivan Cordova was convicted after a jury trial of resisting an
executive officer by force. (Pen. Code,1 § 69, subd. (a).) The jury
also found that Cordova had a prior strike conviction within the
meaning of the “Three Strikes” law. (§§ 667, subds. (c)(1), (e)(1);
1170.12, subds. (a)(1), (c)(1).) The trial court sentenced Cordova
to the middle term of two years doubled to four years for the prior
strike. We affirm.




         1 All statutory references are to the Penal Code.
                               FACTS
       Cordova was in pre-trial custody at the Ventura County jail
on an unrelated matter. Deputies conducted a search of the
inmate’s cells for contraband on April 22, 2023. It was discovered
that Cordero had two towels, a minor infraction, and had been
deceptive, a major infraction. Cordova was escorted to the
recreation room where other inmates who were being cited for
infractions were held.
       Later Deputy Anthony Bavero was escorting Cordova and
another inmate to a different section of the jail when the other
inmate started arguing with Bavero. Cordova turned around to
face Bavero, and said, “Fuck you, pussy.” Cordova was clenching
his fists, and Bavero thought he was ready to fight.
       Bavero told Cordova to face the wall. Cordova refused.
Bavero tried to grab Cordova’s arms, but Cordova swatted
Bavero’s hands away. Cordova punched Bavero twice, one punch
hitting Bavero’s left ear. Bavero punched Cordova once in the
forehead and once in the mouth. Deputy John O’Brien came to
Bavero’s assistance, kneeing Cordova in the stomach. Cordova
struck O’Brien in his right eye.
                               Defense
       Cordova testified on his own behalf. He said he was
leaving the jail recreation room when an inmate in front of him
caused a disturbance. Bavero bumped into Cordova, grabbed
him, and pushed him into the wall. Cordova pushed Bavero back
and told Bavero not to push or disrespect him. Bavero told
Cordova he was resisting and began punching him. Another
deputy joined in and began punching Cordero. Cordero was
trying to avoid being punched in the face. He did not
intentionally strike any of the deputies.




                                2
                           I. Pitchess Motion
      Cordova made a motion pursuant to Pitchess v. Superior
Court (1974) 11 Cal.3d 531 (Pitchess). The trial court granted the
motion finding there was good cause to review the officers’
personnel files for any complaints. The court reviewed the files
in camera and found there was nothing to disclose. We conducted
an independent review and conclude the trial court followed
procedure. We affirm that there is nothing to disclose.
                          II. Romero Motion
      A violation of section 69, subdivision (a) can be either a
misdemeanor or a felony. Here the offense was charged as a
felony. A felony violation is “punishable by a term of
imprisonment in a county jail for 16 months, or two or three
years.” (§ 1170, subd. (h)(1), italics added.) Section 1170,
subdivision (h)(3) provides that when a defendant has a prior
strike, however, “an executed sentence for a felony punishable
pursuant to this subdivision shall be served in the state prison.”
      The trial court’s tentative decision was to sentence Cordova
to the middle term of two years, doubled to four years for a prior
strike conviction.
      Cordova has a prior strike for a first degree burglary. At
sentencing, Cordova’s counsel conceded that a prison sentence is
appropriate, but requested that the trial court dismiss the prior
strike in the interest of justice pursuant to People v. Superior
Court (Romero) (1996) 13 Cal.4th 497, and sentence Cordova to
16 months. Cordova’s counsel argued that except for the prior
strike, Cordova’s convictions were not for serious offenses. The
prosecutor pointed out, only a county jail sentence is possible if
the strike is dismissed.




                                3
       In denying the Romero motion the trial court stated:
“Doesn’t quite add up. I appreciate that. I considered those
matters with regard to history. Frankly that’s the only reason I
did not impose the high term as opposed to the midterm, some of
the factors that were mentioned.
       “In this instance the evidence was quite clear. It wasn’t
just a question of resisting arrest or failing to obey commands.
He decided to punch a deputy multiple times in the head, and
that’s not something the Court is inclined to condone.
       “I’ll stick with my tentative. Probation is denied. Not only
is he found statutorily ineligible, even if he was, the Court finds
no reason in the interest of justice that it be allowed.”
       In aggravation, the trial court found Cordova had
numerous prior convictions increasing severity.
                             DISCUSSION
                     Romero Relief not Appropriate
       Cordova contends the trial court did not realize it had the
discretion under People v. Superior Court (Romero), supra, 13
Cal.4th, to not impose the punishment that flows from a prior
strike without dismissing the strike. (Citing People v. Meloney
(2003) 30 Cal.4th 1145, 1155.)
       But nothing in the record shows the trial court did not
realize it had the discretion not to impose the punishment
without dismissing the strike. The court was not asked to do so.
It was only asked to dismiss the strike.
       Cordova relies on the trial court’s statement, “Doesn’t quite
add up.” But the court was referring to defense counsel’s
concession that a prison term is appropriate and his quest to
strike the prior strike. As the prosecutor pointed out, if the strike
is dismissed, only a county jail term is allowed.




                                 4
       Moreover, the trial court stated that even if it had the
power to dismiss the strike and send Cordova to prison, it would
not do so. The court stated, “Not only is [Cordova] found
statutorily ineligible, even if he was, the Court finds no reason in
the interest of justice that it be allowed.” There is every reason
to believe that the court would not have dismissed the sentence
resulting from the strike while retaining the strike. The court
stated it was not inclined to condone punching a deputy multiple
times in the head. The court was firm in its belief that four years
is the appropriate sentence.
       Finally, granting Romero relief would not be appropriate in
this case. Romero relief is only appropriate where the court finds
the defendant is outside the spirit of the Three Strikes law.
(People v. Vargas (2014) 59 Cal.4th 635, 641.) The power to grant
Romero relief should only be used in extraordinary circumstances
when the ends of justice demand it. (People v. Mayfield (2020) 50
Cal.App.5th 1096, 1105.)
       Cordova has led a life of consistent criminality. The trial
court described his crimes as increasing in severity. He has
performed very poorly on probation and post release community
supervision. In fact, he committed the present offense while on
post release community supervision. A prior prison term did
nothing to change his behavior. Cordova has exhibited the type
of recidivist behavior that the Three Strikes law is intended for.
He is well within the spirit of the Three Strikes law.
                Amendment to Abstract of Judgment
       Cordova contends that the abstract of judgment must be
amended.
       Cordova’s conviction for violating section 69 is listed in the
abstract of judgment as a serious felony. We agree with the




                                 5
People that it is not a serious felony, and the abstract must be
amended.
                           DISPOSITION
      The abstract of judgment is ordered corrected to reflect that
Cordova was not convicted of a serious offense. The clerk shall
prepare an amended abstract of judgment and forward a copy to
the Department of Corrections and Rehabilitation. In all other
respects, the judgment is affirmed.
      NOT TO BE PUBLISHED.




                                    GILBERT, P. J.


We concur:



             YEGAN, J.



             BALTODANO, J.




                                6
                    David R. Worley, Judge

               Superior Court County of Ventura

                ______________________________

      Sylvia W. Beckham, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Seth P. McCutcheon and William H. Shin,
Deputy Attorneys General, for Plaintiff and Respondent.
